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  7
                           UNITED STATES DISTRICT COURT
  8
  9                       CENTRAL DISTRICT OF CALIFORNIA

 10
 11                                            Case No.: 8:21-cv-00574-JLS-KES

 12     JAMES RUTHERFORD, an                   Hon. Josephine L. Staton
       individual,
 13
                                               NOTICE OF SETTLEMENT
 14         Plaintiff,                         AND REQUEST TO VACATE
 15                                            ALL CURRENTLY SET DATES
       v.
 16                                            Complaint Filed: March 28, 2021
       OLI’S BAKERY INC., a
 17                                            Trial Date: None Set
       California corporation; KYONG
 18    HA LEE and BUKY LEE,
       individually and as trustees of
 19
       THE LEE FAMILY TRUST
 20    DATED MAY 15, 2003; and
       DOES 1-10, inclusive,
 21
 22         Defendants.
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                                  NOTICE OF SETTLEMENT
Case 8:21-cv-00574-JLS-KES Document 15 Filed 05/10/21 Page 2 of 2 Page ID #:49



  1        The Plaintiff hereby notifies the Court that a global settlement has been
  2 reached in the above-captioned case and the Parties would like to avoid any
  3 additional expense, and to further the interests of judicial economy.
  4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
  5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
  6 parties, will be filed within 45 days.
  7
  8
  9 Dated: May 10, 2021                            MANNING LAW, APC
 10
 11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                   Joseph R. Manning, Jr., Esq.
 12                                                Attorneys for Plaintiff
 13                                                James Rutherford

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                                    NOTICE OF SETTLEMENT
